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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

V. Criminal Action 22-185 (JDB)

YVONNE ST. CYR

Defendant

Jury Note

 

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